     Case: 1:22-cr-00022-TSB Doc #: 1 Filed: 02/23/22 Page: 1 of 1 PAGEID #: 1




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                         CASE NO.
                    Plaintiff,
                                                         JlJDGE
                          v.

 JAMES EDWARDS,                                          INDICTMENT

                    Defendant.                           18 U.S.C. § 641 - Count 1




THE GRAND JURY CHARGES:

                                           COUNTl
                                    (Theft of Public Money)

       From in or about January 2016, and continuing through in or about June 2020, in the

Southern District of Ohio, the defendant, JAMES EDWARDS, did knowingly and willfully

embezzle, steal, purloin, and convert to his own use and the use of another, on a recurring basis,

money belonging to the United States and a department and agency thereof in a total amount

greater than $1 ,000, namely, Social Security benefits having a value of approximately $42,592.

       In violation of Title 18, United States Code, Section 641.

                                                    A TRUE BILL




                                                    GRAND
                                                                Isl
                                                              .r£iiy FOREPERSON

KENNETH L. PARKER
UNITED STATES ATTORNEY



~ YL:::=c
SPECIAL ASSISTANT UNITED STATES ATTORNEY
